EXHIBIT 3
                                          April 1, 2024

VIA EMAIL
AUSA Emily Johnson
AUSA Mitzi Steiner
AUSA Madison Smyser
United States Attorney’s Office
Southern District of New York
1 St. Andrews Plaza
New York, NY 10007

       Re:     Investigation of Sean Combs

Dear AUSAs Johnson, Steiner and Smyser:

        As you know, we represent Mr. Sean Combs with respect to the ongoing investigation by
your Office into violations of Title 18, United States Code, Sections 1962(d), 1589, 1591, 1594,
2421 through 2422, 1512, and 2, and Title 21, United States Code, Section 846. We write to inform
you that Teny Geragos, partner at this law firm, has taken physical custody of Mr. Combs’ passport
and will retain the passport. Mr. Combs will not secure any other travel documents and will remain
in the United States during the pendency of this investigation.

       In terms of domestic travel, we will advise you in advance of any travel within the
continental United States. Thank you.


                                        Very Truly Yours,



                                   _____________________
                                        Marc Agnifilo
